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                      Exhibit F
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 12/13/2017                                                               Gmail - Fw: Dan Kleeberg's Benefit




              Gmail                                                                                              Dan Kleeberg <dkleeberg@gmail.com>



   Fw: Dan Kleeberg's Benefit
   1 message

   Wendy Eber <w eber@slocumandsons.com>                                                                                         Fri, Aug 29, 2014 at 8:23 AM
   Reply-To: Wendy Eber <weber@slocumandsons.com>
   To: Dan Kleeberg <dkleeberg@gmail.com>

      FYI
     -----Original Message-----•
     From: Michael A. Gallagher
     To: Wendy Eber
     Subject: RE: Dan Kleeberg's Benefit
     Sent: Aug 29, 2014 8:19 AM

     Wendy,

     The maximum benefit guaranteed by tl,e PBGC at age 65 , based on th e 2010 date the PBGC is suggesting, was
     $4,500/Month. If we reduce it to age 58, which would have been Dan's age at the start of the benefit, the hlaximum is
     about $2,700/Month. So without doing som e detailed re search, it seems that his benefit is less than the maximum
     guaranteed and so it should not be reduced.

     The PBGC would have the final say on any benefit reductions.

     Were you looking for something else?

     Any update on our outstanding bill?

     Mike

     > - - Original Message--
     > From: Wendy Eber [mailto:weber@slocumandsons.com]
     > Sent Thursday, August 28, 2014 5:26 PM
     > To: Michael Gallagher
     > Subject: Dan Kleeberg's Benefit
     >
     > Mike,
     >
     > Would you be able to calculate the value of Dan Kleeberg's benefit? He is 62
     > years old andd currently receives 2100 per month and he wanted to find out
     > if he would receive his entire benefit when the PBGC takes over the plan.
     > The PBGC is thinking abou.t using a Feb 2010 termination date for the plan.
     >
     > Thanks
     > Wendy
     > Sent from my Verizon Wireless BlackBerry

     Sent from my Verizon Wireless BlackBerry




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